          United States Court of Appeals
                     For the First Circuit


No. 23-1894

                EUCINEIA SOARES DA SILVA PAZINE,

                           Petitioner,

                               v.

              MERRICK B. GARLAND, Attorney General,

                           Respondent.


   PETITION FOR REVIEW OF AN ORDER OF THE BOARD OF IMMIGRATION
                             APPEALS


                             Before

                Gelpí, Thompson, and Montecalvo,
                         Circuit Judges.


     Caitlyn Burgess, with whom Kevin P. MacMurray and MacMurray
&amp; Associates were on brief, for petitioner.
     Neelam Ihsanullah, Trial Attorney, United States Department
of Justice, Civil Division, Office of Immigration Litigation, with
whom Brian M. Boynton, Principal Deputy Assistant Attorney
General, United States Department of Justice, Civil Division, and
Anthony C. Payne, Assistant Director, United States Department of
Justice, Civil Division, Office of Immigration Litigation, were on
brief, for respondent.


                         August 27, 2024
             THOMPSON, Circuit Judge.       Not all harm that a noncitizen

suffered or fears suffering in their home country entitles them to

asylum.      Part of the reason for that is asylum law's nexus

requirement.      Here's   what   we    mean   by    that.        By   statute,   a

successful asylum applicant must demonstrate that they are a

"refugee."    8 U.S.C. § 1101(a)(42)(A).          This in turn requires that

they demonstrate they suffered or have a well-founded fear of

suffering harm in their home country that amounts to "persecution"

and that persecution is "on account of" at least one of five

statutorily protected grounds:            "race, religion, nationality,

membership in a particular social group [("PSG")], or political

opinion."     Id. (emphasis added).         This "on account of" language

requires a causal connection (or nexus, as it is most commonly

dubbed) between the harm the noncitizen suffered or fears suffering

and one of the five statutorily protected grounds.                      Without a

sufficient showing as to nexus, the harm the noncitizen suffered

or fears suffering isn't a ground for asylum and their asylum claim

will fail right out of the gate.            And this nexus requirement is

what today's case is all about.

             Before us, we have an immigration appeal, which rises or

falls   on   whether   Petitioner      Eucineia     Soares   da    Silva   Pazine

("Soares da Silva Pazine") made a sufficient showing as to nexus.

An Immigration Judge ("IJ") didn't think so, citing a lack of

evidence in the record.      The Board of Immigration Appeals ("BIA"


                                    - 2 -
and, collectively with the IJ, "the agency") agreed with that

assessment.   Viewing the record quite differently than the agency

did and hoping to prevent her removal to her home country of

Brazil, Soares da Silva Pazine filed a petition for review with

this court.    After taking a look ourselves, however, we conclude

that the agency's no-nexus finding is sufficiently supported by

the record and, therefore, we must deny the petition.

                  THE WHO, WHAT, WHERE, WHEN, AND WHY

           To start off today's appeal, we lay out the who, what,

where, when, and why of Soares da Silva Pazine's journey to the

United States, her case, and its path to our bench.         In doing so,

we   gather   our   information   from    the   administrative   record,

including Soares da Silva Pazine's in-court testimony, see Caz v.

Garland, 84 F.4th 22, 25 n.2 (1st Cir. 2023), which the IJ found

"generally credib[le]."

                            Life in Brazil

           Soares da Silva Pazine was born and raised in Resplendor,

Brazil "and had a good childhood."        Around March 2003, when she

was about sixteen years old, she met Lucas Luiz Pazine ("Pazine"),

who she married later that year in November.        Their first child,

a boy who we'll refer to as L.E.D.S.P., was born on October 14,

2004.   The three of them lived together in Brazil and, during that

time,   Pazine,     while   not   physically     abusive,    "was   very

temperamental and would often be aggressive towards" Soares da


                                  - 3 -
Silva Pazine.       He would at times "make punching motions" in her

direction "but stop just before coming into contact with" her,

which she found "terrifying."           In 2009, Pazine moved to the United

States, and, in February 2011, Soares da Silva Pazine followed

suit with L.E.D.S.P. in tow "to study," "to be with [her] husband,"

and "to have a stable family."

                        Life in the United States

             Upon Soares da Silva Pazine's arrival to the United

States, Pazine "became much more abusive."               As she was now "going

to school and meeting new people," he became very jealous and

"would often take [her] phone away and check it, search through

[her] bag and belongings, and generally tr[y] to keep track of

everything [she] did."

             One night in or around November 2011, Pazine attacked

Soares da Silva Pazine for the first time.                 After she came home

from   class,   he    "grabbed       [her]   by   the   throat   aggressively,"

"repeatedly hit [her] in the face with a closed fist," and "tried

to strangle [her]."          Soares da Silva Pazine managed to get away

from him and locked herself in a room, during which time he

"grabbed a knife and pursued [her] and broke a wall trying to get

to [her]."    While locked in the room, she called his employer, who

came   to   their    home,    "saw    the    chaos,"    "protected   [her]   from

[Pazine,] and escorted [her] to the hospital."                Pazine "insisted




                                       - 4 -
on coming to the hospital," which made Soares da Silva Pazine "not

feel safe to report [him] for attacking [her]."

          A few months later, in or around February 2012, Soares

da Silva Pazine decided to leave Pazine and bought herself an

airplane ticket back to Brazil.   He, however, found out about her

plan and "contacted both of [their] families, who contacted [her],

and convinced [her] to give him a second chance."      That second

chance, it turned out, didn't lead to any lasting change in

Pazine's behavior.

          To the contrary, while he "was a better husband" for

about a year and a half, "he returned to his abusive ways" by

September 2013, after their second child, a girl, was born.    For

example, Pazine "became controlling and began to treat [Soares da

Silva Pazine] cruelly again," such as by "tak[ing] [her] phone and

look[ing] through it, forbid[ding] [her] from going out of the

house, and search[ing] [her] belongings."     That wasn't even the

extent of it.   He "also began drinking every day," often "com[ing]

home from a night of drinking and break[ing] items in [their]

home."   To make matters worse, he would also "brag to [her] that

he was having sexual relations with other women," because she was

"not fulfill[ing] [her] duties as a wife." Along these same lines,

he would tell her that she "ha[d] to submit to what he wanted" and

would sometimes sexually assault her.




                               - 5 -
           Wanting to escape this torment but financially unable to

leave Pazine, Soares da Silva Pazine "decided to start saving money

to build a home for [her] and [her] children in Brazil."             Noticing

that she was working hard and making a decent amount of money,

Pazine "temporarily changed his ways," only to revert back to his

abusive tendencies after their third child, another boy, was born

in October 2017.

           Things reached a boiling point in or around May 2020,

when Soares da Silva Pazine asked Pazine "to leave [their] house

for good."      This request enraged Pazine, who, on May 28, 2020,

attacked Soares da Silva Pazine again.         That night, he chased her

throughout their home, forcing her to lock herself in a bedroom to

get away from him.     Pazine, nevertheless, broke into the room and

"began to punch and attack" Soares da Silva Pazine until their

eldest   son    L.E.D.S.P.   got    in   between    them    to   protect   her.

L.E.D.S.P. was accidentally hit in the process, prompting Pazine

to flee their home.         Although the Woburn, Massachusetts Police

Department was eventually called, Soares da Silva Pazine told them

that she wasn't physically harmed during the attack because she

feared Pazine would be deported.

           Following this attack, Soares da Silva Pazine moved to

a   different   apartment    with   their   three    children,     but   Pazine

continued to call, text, and threaten her.                 His cousin, Dulce,

would also call and threaten Soares da Silva Pazine "that [Soares


                                    - 6 -
da Silva Pazine] had to see [Pazine] and support [Pazine] or else

she   would    make   [Soares   da   Silva   Pazine's]   life   difficult."

Ultimately, these continued threats convinced Soares da Silva

Pazine that she had to be as far away from Pazine as possible, so

she decided to return to Brazil with her three children.              After

receiving written authorization from Pazine to bring the children

to Brazil, Soares da Silva Pazine and the three children left the

United States on or around March 15, 2021.

                            Return to Brazil

              Things didn't really improve much for Soares da Silva

Pazine in Brazil.     Although she "reconnected with [her] family and

[Pazine's] family who [she] was familiar with," he "called his

family and told them that he would not support [her] financially"

and "told [their] families that [she] had mental disorders and was

incapable of watching [their] children."          Enraged that Soares da

Silva Pazine left the United States with their children (even

though he supposedly gave her written permission to do just that),

Pazine told her over the phone that he "would do something to take

the kids" and that he "would harm or kill [her] if he could."

              While in Brazil, Soares da Silva Pazine would at times

allow Pazine's parents to visit the children. During some of these

visits, Pazine's parents would bring Dulce along, but Soares da

Silva Pazine never approved of her coming to visit because of

Dulce's prior threats to her. According to Soares da Silva Pazine,


                                     - 7 -
Dulce came to these visits "on behalf of [Pazine] to monitor the

situation and report on [her]."     Dulce would also "threaten" her

during these visits "that [Dulce] was not satisfied that [Soares

da Silva Pazine and the children] were there" and "[t]hat [Dulce]

will remove [their] children."

          Over the next two months, Dulce began to surveil Soares

da Silva Pazine's home, though she never harmed her physically.

Dulce "would walk around the block [Soares da Silva Pazine's] home

was on and take pictures" and then "would wait outside and monitor

[her] schedule trying to memorize when and where [she] would be."

This surveillance took place nearly every day and Dulce frequently

told Soares da Silva Pazine that she "would not have peace."

Soares da Silva Pazine also began receiving phone calls from

someone threatening to kill her and take her children.     Although

she did not recognize the voice on the other line, she believed

they were connected to Dulce.

          These were not the only calls Soares da Silva Pazine

received during her time in Brazil. She also received calls "every

day" from lawyers in Brazil who Pazine had hired to "harass" her.

"One [lawyer] was more threatening and did not identify himself

while the other was only coercive and would try and pursue [her]

to sign [her] home [in Brazil which she owns] over to [Pazine]."

These lawyers also threatened to "accuse [her] of being unfit to

raise [their] children in an attempt to take [her] home away from


                                 - 8 -
[her]."        Ultimately,    these   lawyers   wanted     her   "to   sign   the

paperwork for divorce and giv[e] up [her] children and [her]

house."

               "[V]ery fearful" of what would happen to her, Soares da

Silva Pazine reported all of these calls and threats to the

Brazilian police who told her that "these were conjugal problems"

so nothing could be done about them.            In light of these continued

threats, Soares da Silva Pazine, along with L.E.D.S.P., fled Brazil

on or about July 12, 2021 to return to the United States.1

                        Return to the United States

               On or about July 16, 2021, Soares da Silva Pazine and

L.E.D.S.P. entered the United States.           Less than a month later, on

August    5,    2021,   the   Department   of   Homeland    Security    ("DHS")

initiated removal proceedings against them both.                 Over the next

year or so, Soares da Silva Pazine continued to receive threats

from Pazine's family and Pazine himself, who had since obtained a

divorce against her in the United States.            While Soares da Silva

Pazine was unsure of Pazine's exact location, she knew he remained

in the United States.

                               The IJ's Decision

               Not too long after, on September 14, 2022, Soares da

Silva Pazine and L.E.D.S.P. went before the IJ to seek immigration


     1 The other two children joined Soares da Silva Pazine and
L.E.D.S.P. in the United States a few weeks later in August 2021.


                                      - 9 -
relief and avoid removal back to Brazil.             Soares da Silva Pazine

sought    immigration       relief    through    applications   for    asylum,

withholding    of     removal,   and    protection   under    the   Convention

Against     Torture     ("CAT"),       whereas   L.E.D.S.P.     only    sought

immigration relief through an application for derivative asylum.2

To corroborate their claims and applications, they filed a trove

of documents, including a sworn, written affidavit from Soares da

Silva     Pazine,     her   wedding     certificate,    L.E.D.S.P.'s        birth

certificate,    various      letters    of   support,   including     one   from

L.E.D.S.P. himself, a report on the effects of trauma, several

country conditions reports, and a legal memorandum.




     2 To paint a crystal-clear picture of what went down at this
hearing, we offer a few additional points of clarification.
     First, derivative asylum refers to the fact that certain
family members of asylees can be granted asylum as derivatives (or
"riders" as they are also sometimes called) of their family
member's asylum application. Cabrera v. Garland, 100 F.4th 312,
315 n.1 (1st Cir. 2024). On the other hand, noncitizens cannot
derive withholding of removal or CAT protection, so in order to
apply for those forms of relief, they must submit an application
in their own name. Id. L.E.D.S.P., though, did not submit any
applications in his own name, so his only path to immigration
relief was derivative asylum.
     Second, the IJ also considered two motions at the hearing: a
motion to sever L.E.D.S.P.'s case from Soares da Silva Pazine's
and a motion for administrative closure on behalf of both
individuals.   Administrative closure is a procedural mechanism
that temporarily removes a noncitizen's case from an IJ's calendar
and the BIA's docket but does not constitute a final order.
Lopez-Reyes v. Gonzales, 496 F.3d 20, 21 (1st Cir. 2007).      For
reasons not ultimately relevant to the issues on appeal, both
motions were denied.


                                      - 10 -
                  After Soares da Silva Pazine was done testifying in

accordance with everything detailed above,3 the IJ denied all forms

of immigration relief and ordered their removal to Brazil in an

oral decision issued that day.               The IJ started off his decision

with credibility and corroboration.                He noted that, even though he

found Soares da Silva Pazine's testimony "generally credib[le],"

she failed to provide certain evidence that he "deem[ed] to be

reasonable, available corroborative evidence"4 and she did "not

adequately explain[]" the failure to produce such evidence.                      "Even

if the[se] corroborative deficiencies . . . did not undermine

[Soares da Silva Pazine's] ability to meet [her] burden of proof,"

the IJ explained, her asylum claim failed on the merits.

                  Per the IJ, Soares da Silva Pazine's asylum claim failed

for several reasons.            First, while the IJ lamented "the heinous

acts of violence and mistreatment that [Pazine] inflicted against

both [Soares da Silva Pazine] and [L.E.D.S.P.]," he noted that

that       harm    occurred    in   the   United    States    and   the   "refugee"

definition          outlined    above     "necessarily       requires     that    the




       Soares da Silva Pazine was the sole witness to testify
       3

before the IJ.
       Specifically, the IJ determined that she failed to provide
       4

four relevant and reasonably available pieces of evidence: (1) the
medical records from her hospitalization in 2011, (2) the police
report from the Woburn Police Department, (3) the written
authorization Pazine supposedly gave her to take the children to
Brazil, and (4) the divorce paperwork.


                                          - 11 -
persecution occur or that an applicant have a well-founded fear of

persecution on account of a protected ground in the applicant's

country of nationality or country of last habitual residence."

According to the IJ then, "the mistreatment that [Soares da Silva

Pazine] and [L.E.D.S.P.] suffered at the hand[s] of [Pazine] does

not constitute past persecution since it occurred in the United

States."   And because Pazine was still in the United States, the

IJ similarly concluded that Soares da Silva Pazine did not have a

well-founded fear of future persecution at the hands of Pazine in

Brazil as the IJ "would only be speculating as to whether or not

[Pazine] would be returning to Brazil."

           Second, the IJ concluded that Soares da Silva Pazine did

not suffer past persecution nor did she have a well-founded fear

of future persecution on account of a protected ground by way of

the threats she received from Dulce and Pazine's lawyers.       In

reaching that conclusion, he first looked to the statutorily

protected grounds Soares da Silva Pazine advanced in her briefing,

her membership in three PSGs:       "Brazilian Women," "Brazilian

Females," and "Single Brazilian Mothers."     The IJ acknowledged

that these PSGs "could be legally cognizable and that it appears

that [Soares da Silva Pazine] may belong to such groups" but

explained that there was "[in]sufficient evidence in the record

that a central reason for the harm [from Dulce and Pazine's

lawyers] was on account of these proposed [PSGs] as opposed to a


                              - 12 -
personal dispute."      Rather, the IJ maintained, "the harm directed

against [her] from [Dulce] and the attorneys appears to be rooted

in   a   custody    dispute   regarding       the    children   and   a   property

dispute."    Laying it all out on the table, the IJ pointed out that

"there is no evidence that [Dulce] was motivated to harm [her]

because of her statuses of Brazilian women or female or as a status

of a single Brazilian mother as opposed to her taking up a personal

dispute between her and her husband [Pazine]."                  Likewise, the IJ

highlighted that "the attorneys . . . appear to have been motivated

to carry out [Pazine's] wishes as their client to gain custody of

the children and [Soares da Silva Pazine's] property."

            While    the   IJ     considered        the   possibility     of    "any

potential transferred intent" and noted that Pazine himself may

have been motivated to harm Soares da Silva Pazine on account of

her membership in her proposed PSGs, "the key issue," the IJ

emphasized, was "whether the people that [she] fears, specifically

[Dulce] or the attorneys of [Pazine], were motivated on account of

the [PSGs] proposed."         And on that key issue, the IJ concluded

"that the intent of [Dulce] and the attorneys is rooted in their

desire to help [Pazine] gain custody of the children successfully

in   the   divorce   and   also    gain   a   successful     divorce      and   gain

property."    Without a nexus to a protected ground, the IJ found

that Soares da Silva Pazine's asylum claim "fail[ed]."




                                     - 13 -
                Trudging along to the other forms of immigration relief,

the IJ quickly denied withholding of removal because, like asylum,

it requires a nexus to a statutorily protected ground but, unlike

asylum, it has a higher burden of proof, which all meant that

Soares da Silva Pazine's application for withholding of removal

necessarily failed too.             As for CAT protection, the IJ explained

that there was insufficient evidence in the record that Soares da

Silva Pazine would more likely than not be tortured in Brazil at

the     hands    of    or   with    the    consent,   acquiescence,     or   willful

blindness of a public official. The IJ thought this was especially

true here, where Soares da Silva Pazine had never been tortured in

Brazil and "remained in Brazil for a number of months without any

type of actual physical harm or mistreatment."                     In light of this

absence of evidence, the IJ denied CAT protection and ordered

Soares da Silva Pazine and L.E.D.S.P. removed to Brazil.

                Soares da Silva Pazine followed up with an appeal to the

BIA.5

                                    The BIA Decision

                The BIA dismissed the appeal a year later, on September

27, 2023.         Starting off with what wasn't being challenged on

appeal,     the       BIA   noted   that    Soares    da   Silva   Pazine    had   not


       For reasons unclear from the record, L.E.D.S.P. was not
        5

included in his mother's appeal to the BIA (nor, for that matter,
in her petition for review to us). As such, the balance of our
opinion today will focus on just Soares da Silva Pazine's case.


                                           - 14 -
challenged   the   IJ's   denial   of   CAT   protection6   nor   the   IJ's

conclusion that the harm Pazine subjected her to did not fall

within the definition of "refugee" because it occurred in the

United States, and not in Brazil.           It then shifted its focus to

Soares da Silva Pazine's challenge to the IJ's no-nexus finding as

it related to Dulce and Pazine's lawyers. It "discern[ed] no clear

error" in that no-nexus finding, which it found "plausible in light

of the record."    The BIA explained that "[w]hile [Soares da Silva

Pazine] interprets her evidence differently, her interpretation

alone is not sufficient to show clear factual error in the [IJ's]

motive finding."     In the absence of any clear error, it agreed

with the IJ that she had not established the nexus required for

asylum or withholding of removal.7            Furthermore, the BIA noted

that, for the first time on appeal, Soares da Silva Pazine raised

a "pattern or practice" theory of persecution,8 which it refused

to address because she had not presented the theory to the IJ.


     6 In fact, Soares da Silva Pazine doesn't challenge the denial
of CAT protection in her briefing to us either. This failure to
challenge the denial of CAT protection before the BIA and this
court means she (to the extent she is even still pursuing this
relief) both failed to administratively exhaust her claim and
waived it. See Caz, 84 F.4th at 30 n.7 (waiver); Odei v. Garland,
71 F.4th 75, 78 n.1 (1st Cir. 2023) (administrative exhaustion).
     7 Because the no-nexus finding was dispositive of her claims,
the BIA explicitly declined to address any other findings made by
the IJ.
     8 A "pattern or practice" theory of persecution is a fallback
for noncitizens who cannot prove that they will personally be
singled out for persecution on account of a protected ground in


                                   - 15 -
          A timely petition for review with this court followed

and, with that, we're all up to date on the relevant goings-on and

need-to-knows.

                             THE HOW

          Up top we previewed that today's appeal will end with a

denial of Soares da Silva Pazine's petition for review.        What

follows is how we get to that particular outcome.         With CAT

protection both unexhausted and waived, all we have left to review

is the agency's denial of asylum and withholding of removal.    And

since "the BIA did not say that it was adopting the IJ's decision,

only that the IJ's findings were not clearly erroneous," we limit

our review to the BIA's decision, Aguilar-Escoto v. Garland, 59

F.4th 510, 515 (1st Cir. 2023), starting off with asylum and ending

with withholding.

                              Asylum

          On the asylum front, Soares da Silva Pazine makes many

arguments on appeal:   (1) the harm she suffered in Brazil rose to

the level of persecution; (2) her proposed PSGs of "Brazilian

Women," "Brazilian Females," and "Single Brazilian Mothers" are


their home country or country of last habitual residence.      See
Balachandran v. Holder, 566 F.3d 269, 272 (1st Cir. 2009).
Instead, under such a theory, noncitizens can be granted asylum if
they demonstrate "that there is a pattern or practice . . . of
persecution of a group of persons similarly situated to the
[noncitizen] on account of" at least one of the statutorily
protected grounds and the noncitizen is a member of that group. 8
C.F.R. § 1208.13(b)(2)(iii)(A)-(B).


                              - 16 -
legally cognizable PSGs; (3) the BIA erred in refusing to address

her "pattern or practice" theory of persecution; (4) the IJ erred

in   his   determination   that    she   failed    to   provide   reasonably

available corroborative evidence, which undermined her ability to

meet her burden of proof; and (5) the agency erred in concluding

she had not demonstrated a nexus to a statutorily protected ground.

We need not reach most of these arguments.

            The agency's no-nexus finding was outcome-determinative

and it is black-letter law that "agencies are not required to make

findings on issues the decision of which is unnecessary to the

results they reach," so the agency did not need to address Soares

da Silva Pazine's harm-amounting-to-persecution argument or the

validity    of   her   PSGs.      Immigr.   &amp;    Naturalization    Serv.    v.

Bagamasbad, 429 U.S. 24, 25 (1976) (citing Hirabayashi v. United

States, 320 U.S. 81, 85 (1943)).          As for the BIA's alleged error

in declining to address her "pattern or practice" theory of

persecution, nowhere in Soares da Silva Pazine's briefing does she

challenge the BIA's assertion that she failed to raise this theory

to the IJ, which constitutes waiver.         See Caz, 84 F.4th at 30 n.7.

And, importantly, a "pattern or practice" theory of persecution

also requires a nexus showing, so the agency's no-nexus finding

was, again, outcome-determinative.          See Balachandran, 566 F.3d at

272.   Lastly, besides the no-nexus finding, the BIA explicitly

declined    to   address   the   IJ's    other   findings,   including     the


                                   - 17 -
determination    that    Soares    da    Silva   Pazine   failed   to    provide

reasonably available corroborative evidence.              And where the BIA

declines to address an IJ's alternative finding, that finding "is

not before us."       Bonilla v. Mukasey, 539 F.3d 72, 81-82 (1st Cir.

2008) (citing Immigr. &amp; Naturalization Serv. v. Ventura, 537 U.S.

12 (2002)).

           All that leaves us with just one argument to address

regarding asylum:        Soares da Silva Pazine's challenge to the

no-nexus finding.       And that challenge has two parts to it.           First,

she   contends    that    the   agency    didn't    engage    in   the   proper

mixed-motive analysis.          Second, she contends that the record

compelled the conclusion that her membership in the aforementioned

PSGs was one central reason for the harm she suffered and fears

suffering in the future.          These contentions are essentially two

sides of the same coin, which some background on nexus will help

put in context.

           As    we   mentioned    above,    asylum   law's    definition    of

"refugee" requires a showing of past persecution or a well-founded

fear of future persecution "on account of" one of the statutorily

protected grounds, 8 U.S.C. § 1101(a)(42)(A), and, without that

on-account-of (or nexus) showing, an asylum claim won't make it

very far, see Lopez de Hincapie v. Gonzales, 494 F.3d 213, 217-18
(1st Cir. 2007).       A noncitizen satisfies their burden as to nexus

by demonstrating that a statutorily protected ground "was or will


                                    - 18 -
be at least one central reason" for the harm they suffered or fear

suffering.     8 U.S.C. § 1158(b)(1)(B)(i).      This does not require

the noncitizen to demonstrate that they were or will be targeted

only because of their protected characteristic.         Ordonez-Quino v.

Holder, 760 F.3d 80, 90 (1st Cir. 2014).         Rather, this capacious

"at least one central reason" language recognizes the universal

truth that it is common for persecutors to have mixed motivations.

See id.      The upshot of all this is that "the presence of a

non-protected motivation" does not defeat a noncitizen's asylum

claim.    Aldana-Ramos v. Holder, 757 F.3d 9, 19 (1st Cir. 2014).

Instead, all that is required of a noncitizen is a sufficient

showing   that   the   protected    motivation   was   not   "incidental,

tangential, superficial, or subordinate to another reason for

[the] harm."     Sánchez-Vásquez v. Garland, 994 F.3d 40, 47 (1st

Cir. 2021) (quoting Singh v. Mukasey, 543 F.3d 1, 5 (1st Cir.

2008)).

           With that legal framework in place, we turn back to

Soares da Silva Pazine's arguments.         She essentially argues that

(1) the BIA didn't properly consider the possibility of mixed

motives, and (2) the record adequately showed that her membership

in her PSGs was "at least one central reason" for the harm.           But

before getting to the meat of our analysis of those arguments,

there are several important clarifications we must make regarding




                                   - 19 -
which PSGs are at issue here and which persecutor's motivations

are relevant to our nexus analysis.

            First, while Soares da Silva Pazine proffered three PSGs

to the IJ and the BIA -- namely, "Brazilian Women," "Brazilian

Females," and "Single Brazilian Mothers" -- the substance of her

briefing    only   addresses   "Brazilian    Women"    with   mere    passing

references to the other two PSGs.      We, therefore, deem those other

two PSGs waived, see Martínez-Pérez v. Sessions, 897 F.3d 33, 40

n.5 (1st Cir. 2018), and consider her nexus arguments vis-à-vis

only her "Brazilian Women" PSG.        Second, Soares da Silva Pazine

never challenged in her briefing to us or to the BIA the IJ's

conclusion that the abuse Pazine subjected her to in the United

States could not be a basis for asylum because the "refugee"

definition necessarily contemplates harm in the noncitizen's home

country.    With no argumentation on that point at all, we deem it

waived and unexhausted, see id. (waiver); Odei, 71 F.4th at 78 n.1

(administrative     exhaustion),     and    do   not   consider      Pazine's

United-States-based actions in our nexus analysis.            Third, Soares

da Silva Pazine makes a passing argument in her briefing to us

that "the form of verbal abuse from [Pazine] while they lived

together in Brazil" amounted to past persecution -- an argument

which makes its debut before us (not before the IJ and not before

the BIA).   Her failure to properly develop this argument on appeal

to us and her failure to present this argument to the agency at


                                   - 20 -
all -- once again -- means the argument is waived and unexhausted.

See Martínez-Pérez, 897 F.3d at 40 n.5 (waiver); Odei, 79 F.4th at

78 n.1 (administrative exhaustion).

           What this all means for our purposes here today is that

the only actors whose motivations are relevant are Dulce and

Pazine's   lawyers      and    what    matters      is   whether     the     record

sufficiently shows that "at least one central reason" for their

actions against Soares da Silva Pazine was her membership in the

"Brazilian Women" PSG.

           With these important clarifications squared away, we at

long last finally turn to the nitty-gritty of our analysis of

Soares da Silva Pazine's appellate arguments.                 Her first argument

-- that the BIA failed to engage in a mixed-motive analysis --

boils   down   to   a   contention    that     it   applied    the   wrong    legal

standard, which is an argument we review de novo (or, more simply

put, with fresh eyes).        Jimenez-Portillo v. Garland, 56 F.4th 162,

166 (1st Cir. 2022).       With our de-novo glasses on, we hardly see

any merit to this argument.       The BIA repeatedly cited the "at least

one central reason" standard in its decision and then ran through

specific facts in the record that supported the no-nexus finding.

By doing so, it "necessarily 'acknowledged the possibility of a

mixed-motive case, but based on the evidence presented, made a

fact-specific determination that [Soares da Silva Pazine] had not

shown that the persecution was motivated'" by a protected ground.


                                      - 21 -
Barnica-Lopez v. Garland, 59 F.4th 520, 529-30 (1st Cir. 2023)

(quoting Villalta-Martinez v. Sessions, 882 F.3d 20, 24 (1st Cir.

2018)).    The BIA's decision, therefore, readily reflects that it

"repeatedly cited to and correctly applied the 'one central reason'

standard in examining the nexus between that protected ground and

the harm [Soares da Silva Pazine] suffered."9            Id. at 529.

           Finding   her    first    argument    unpersuasive,       all   that

remains for our review is her second argument that, even assuming

the agency applied the correct "at least one central reason"

standard, it erred in determining that her membership in the

"Brazilian Women" PSG was not "at least one central reason" for

the harm she suffered and fears suffering from Dulce and Pazine's

lawyers.     This is an argument we review under the substantial

evidence standard, because whether a protected characteristic is

a central reason for a noncitizen's persecution is generally a

question of fact.    Singh, 543 F.3d at 4.      And under the substantial

evidence standard, which is not "petitioner-friendly," Ruiz v.

Mukasey, 526 F.3d 31, 35 (1st Cir. 2008), we reverse only if any

reasonable    fact-finder    would    be     compelled    to   the   opposite



     9 To the extent Soares da Silva Pazine argues that the IJ did
not properly apply the mixed-motive standard and the BIA erred by
failing to correct that error on appeal, we see no merit to that
contention either for the same exact reasons. The IJ's decision
reflects multiple invocations of the correct "at least one central
reason" standard and a careful review of the record evidence as to
Dulce's and Pazine's lawyers' intentions.


                                    - 22 -
conclusion, Immigr. &amp; Naturalization Serv. v. Elias-Zacarias, 502

U.S. 478, 483-84 (1992).       For reasons we'll explain, we do not

think the record compels the conclusion that Dulce and Pazine's

lawyers targeted or will target Soares da Silva Pazine on account

of her membership in the "Brazilian Women" PSG.

            Soares da Silva Pazine seems to contend that Pazine

himself was motivated to harm her on account of her gender and,

because he "coordinated" the harm Dulce and his lawyers subjected

her   to,   their   actions   are    inextricably   linked   to   his   own

motivations.   In this way, she appears to be arguing that Pazine's

motivations are either transferred or imputed to Dulce and his

lawyers. Setting aside the fact that Soares da Silva Pazine offers

no caselaw (nor are we aware of any) greenlighting the transferring

of or imputing of one actor's motivations to another, we'll assume

(favorably to her, but without deciding) that Pazine was indeed

motivated to harm her on account of her gender and assume (again

favorably to her, but without deciding) that such motivations can

be transferred or imputed to Dulce and his lawyers, because her

argument fails regardless. See Cabrera, 100 F.4th at 321 (assuming

"favorably to Petitioners" the viability of their asylum argument

because the "claim fails anyway").

            To explain, even if Dulce and Pazine's lawyers were

motivated to harm Soares da Silva Pazine at least in part due to

her gender, she must nevertheless prove that the record compels


                                    - 23 -
the conclusion that her gender was not "incidental, tangential,

superficial, or subordinate to another reason for [the] harm."

Sánchez-Vásquez, 994 F.3d at 47 (quoting Singh, 543 F.3d at 5).

And that she cannot do.         Let's start off with Dulce.      Nothing in

the   record    compels   the    conclusion   that   she   was   more   than

incidentally or tangentially motivated (if that) by Soares da Silva

Pazine's gender as opposed to her desire to help her cousin Pazine

obtain custody of the children -- as the agency concluded.               For

example, every threat Dulce made against her occurred when Soares

da Silva Pazine was separated from Pazine and had taken their

children.      Moreover, none of the threats referenced her gender or

used similar gender-based derogatory language that Pazine had

previously used.      There's also nothing in the record to suggest

Dulce had previously targeted other Brazilian women due to their

gender.     Importantly, Soares da Silva Pazine testified herself

that Dulce threatened her because "she wanted to do things bad to

[her], take [her] children, [and] take [her] house," because Dulce

was "[i]nfluenced by [Pazine]," who "wanted custody of [her]

children and to take everything [she] had."                Nothing in this

explanation even references her gender as a motivating factor

behind    Dulce's   actions.       Ultimately,   the   agency    reasonably

concluded that Dulce was motivated to help her cousin in his

personal dispute against Soares da Silva Pazine for custody and

property and we've long recognized that "personal disputes are


                                   - 24 -
generally not enough to show the required nexus."             Sompotan v.

Mukasey, 533 F.3d 63, 71 (1st Cir. 2008).

           We reach the same conclusion as to the motivations of

Pazine's lawyers. The only information in Soares da Silva Pazine's

sworn, written affidavit about the lawyers is the following:

           [Pazine] hired two attorneys to harass me
           while I lived in Brazil. Both would call me
           every day. One was more threatening and did
           not identify himself while the other was only
           coercive and would try and pursue me to sign
           my home over to [Pazine].     [Pazine] wanted
           these lawyers to take my home and money from
           me.

           I own a home in Brazil and [Pazine], and his
           attorneys, have threatened to try and take my
           home from me by any means necessary.       The
           lawyers were going to accuse me of being unfit
           to raise our children in an attempt to take my
           home away from me. They also were going to
           attempt to take my home through divorce
           proceedings, if those were to proceed.

Needless to say, nothing there even remotely suggests the lawyers'

were motivated by Soares da Silva Pazine's gender.            The same is

true of her in-court testimony.        Indeed, her in-court testimony

strongly    suggests   the   lawyers      were   motivated     by    their

attorney-client   relationship   and   obligation   to   do   what   their

client, Pazine, hired them to do.      She testified that their "calls

were essentially about custody and money" and "sign[ing] the

paperwork for divorce and giving up [her] children and [her]

house."    There's also nothing in the record from which we could

even infer any gender-based motivation on the lawyers' part.          For


                                 - 25 -
example, nothing in their actions or behavior suggests that they

only take male clients or that they would not have engaged in such

hard-boiled tactics had their client been Soares da Silva Pazine

and not Pazine.       As such, the agency's conclusion that the lawyers

were similarly motivated by a personal dispute is well-supported

by the record.

              The only comeback Soares da Silva Pazine offers is that

the   boatload       of    country         conditions      evidence     in    the   record

demonstrates that Brazil is rife with impunity for gender-based

violence, which (in her mind) supports her contention that Dulce

and Pazine's lawyers had gender-based motivations.                             While this

characterization          of   life        in   Brazil    may    well   be     true,   that

generalized country conditions evidence hardly illuminates Dulce's

or the lawyers' specific motivations.                      See Laurent v. Ashcroft,

359   F.3d    59,    65   n.4       (1st    Cir.   2004)    ("But      such   generalized

information      cannot        be    allowed       to    trump   the    IJ's    specific,

well-substantiated finding . . . .").                       This is especially true

where      neither   Dulce      nor    the      lawyers    outwardly     expressed      any

misogynist views.10




       Other than the country conditions evidence, the only other
      10

relevant evidence is the aforementioned letters of support from
various individuals, including L.E.D.S.P. and others familiar with
what Soares da Silva Pazine and her children lived through. These
letters, however, provide no insight as to Dulce's or the lawyers'
motivations as the only reference to them at all in any of these
letters is the following: "However, while [Soares da Silva Pazine


                                            - 26 -
             To recap, the agency concluded that there was no nexus

between Soares da Silva Pazine's membership in the "Brazilian

Women" PSG and the harm she suffered from Dulce and Pazine's

lawyers.     For the reasons explained above, we believe substantial

evidence supports that conclusion and, therefore, the agency did

not err in denying asylum.

                        Withholding of Removal

             Neither did the agency err in denying withholding of

removal, which also requires a nexus showing but imposes a higher

standard of proof than asylum.        Lopez de Hincapie, 494 F.3d at

220.    Having failed to satisfy asylum's standard of proof, Soares

da   Silva   Pazine   necessarily   failed   to   satisfy   withholding's

standard of proof.11    See Cabrera, 100 F.4th at 324.


and the children] were [in Brazil], [Pazine] sent people who
threatened her and her family with death."
        We take a beat to note that some of our sister circuits
       11

disagree as to whether the "one central reason" standard -- as
opposed to a less stringent "a reason" standard -- applies to
withholding of removal. Compare Barajas-Romero v. Lynch, 846 F.3d
351, 359-60 (9th Cir. 2017) (endorsing "a reason" standard);
Guzman-Vasquez v. Barr, 959 F.3d 253, 272 (6th Cir. 2020) (same)
with Gonzalez-Posadas v. Att'y Gen. U.S., 781 F.3d 677, 685 n.6
(3d Cir. 2015) (endorsing the "one central reason" standard);
Vazquez-Guerra v. Garland, 7 F.4th 265, 271 (5th Cir. 2021) (same);
Quituizaca v. Garland, 52 F.4th 103, 108-14 (2d Cir. 2022) (same).
See also Durakovic v. Garland, 101 F.4th 989, 996, 996 n.3 (8th
Cir. 2024) (noting the circuit split and listing cases but
declining to resolve the issue); Pineda-Maldonado v. Garland, 91
F.4th 76, 90 n.5 (1st Cir. 2024) (same); Chavez v. Garland, 51
F.4th 424, 430 n.4 (1st Cir. 2022) (same).      As we've routinely
applied the "one central reason" standard to withholding of removal
claims, see, e.g., Barnica-Lopez, 59 F.4th at 528; Marquez-Paz v.
Barr, 983 F.3d 564, 565 (1st Cir. 2020); Costa v. Holder, 733 F.3d


                                - 27 -
                             THE WRAP-UP

         As we wrap up, we wish to note that nothing in today's

opinion is meant to discount the gravity of what Soares da Silva

Pazine has lived through both in Brazil and the United States.

That said, the record-related deficiencies as to nexus require

that we deny the petition.




13, 16 (1st Cir. 2013), and neither party asks us to resolve the
issue, we apply the "one central reason" standard here and leave
the issue for another day.


                               - 28 -
